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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
SK/RCH/EMR/PP/MED                                  271 Cadman Plaza East
F. #2019R00927                                     Brooklyn, New York 11201


                                                   June 17, 2022

By FedEx

César de Castro, Esq.
The Law Firm of César de Castro, P.C.
The District
111 Fulton Street - 602
New York, New York 10038

                Re:   United States v. Genaro Garcia Luna
                      Criminal Docket No. 19-576 (BMC)

Dear Counsel:

               Enclosed please find the government’s supplemental discovery in accordance
with Rule 16 of the Federal Rules of Criminal Procedure. Please note the enclosed discovery
contains Protected Material and should be handled consistently with the Protective Order. See
Dkt. No. 19. The government also requests reciprocal discovery from the defendant.
I.     The Government’s Discovery

       Enclosed please find:


           0001140426-0001140448         Documents received from BNY Mellon


           00011440449-0001140459        Documents received from BNY Mellon

           0001140460-0001148940         Documents received from Citibank

           001148941-00011148947         Documents received from CMG Capital


           0001148948-0001163307         Documents received from City National Bank

           0001163308-0001163391         Documents received from DG Resources
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                                 Documents received from Federal Reserve
             0001163392
                                 Bank of New York

        0001163393-0001164706    Documents received from Helm Bank

        0001164707-0001164708    Documents received from HSBC

        0001164709-0001164710    Documents received from HSBC

        0001164711-0001164712    Documents received from JP Morgan Chase
                                 Files from the defendant’s Apple desktop
        0001164713-0001164801
                                 computer

        0001164802-0001165035    Documents received from Regions Bank

                                 Documents received from Standard Chartered
             0001165036
                                 Bank

        0001165037-0001165119    Documents received from TDG Lending

                                 Documents received from University of
        0001165120-0001165164
                                 Miami

             0001165165          Photobook photo

                                 Notes reflecting prior statements of a certain
        0001165166-0001165182
                                 individual
                                 A draft transcript of a telephone call made
                                 from the Metropolitan Detention Center on
        0001165183-0001165187    December 29, 2022, the recording of which
                                 was previously provided to you on March 1,
                                 2021, Bates-numbered 001012332




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                If you have any questions or requests regarding further discovery or a disposition
of this matter, please do not hesitate to contact me.

                                                     Very truly yours,

                                                     BREON PEACE
                                                     United States Attorney

                                             By:      /s/
                                                     Saritha Komatireddy
                                                     Ryan C. Harris
                                                     Erin M. Reid
                                                     Philip Pilmar
                                                     Marietou E. Diouf
                                                     Assistant U.S. Attorneys
                                                     (718) 254-7000

Enclosures

cc:    Clerk of Court (BMC) (via ECF) (without enclosures)




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